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 5

 6   Attorney for Defendant,
     SALVADOR RAYMOND DELEON RODRIGUEZ
 7

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,           ) Case No.: 1:13-CR-00085 LJO
                                         )
12              Plaintiff,               )
                                         )
13        vs.                            ) STIPULATION AND ORDER TO
                                         ) CONTINUE SENTENCING
14                                       )
     SALVADOR RAYMOND DELEON             )
15                                       )
     RODRIGUEZ,                          ) Date: May 5, 2014
16                                       )
                                         ) Time: 8:30 a.m.
17              Defendant.               ) Hon. Lawrence J. O’Neill
18
          Defendant,     SALVADOR    RAYMOND     DELEON    RODRIGUEZ,       by   and
19
     through his attorney of record, Anthony P. Capozzi and the
20
     United States Attorney by and through Kimberly A. Sanchez,
21
     hereby stipulate as follows:
22
          1. By previous order, this matter was set for sentencing
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     on May 5, 2014, at 8:30 a.m.
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          2. The parties agree and stipulate that Defendant requests
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     this court to continue the sentencing until August 11, 2014,
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     at 8:30 a.m.
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                                          - 1 -
                 Stipulation and [Proposed] Order to Continue Sentencing
                               Case No.: 1:13-CR-00085 LJO
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 1        3. Additionally, the parties agree and stipulate, and

 2   request that the Court find the following:

 3              a. The Defendant pled guilty on December 23, 2013.

 4        Ongoing negotiations have been taking place between the

 5        Government and the Defendant. Additional information is

 6        needed prior to sentencing which may be completed by July

 7        28, 2014.

 8              b. The parties request that Informal Objections be

 9        filed on July 14, 2014, and Formal Objections be filed on

10        July 28, 2014.

11              c. The Government does not object to the continuances

12        requested herein.

13

14                                           Respectfully submitted,

15   DATED: May 1, 2014                      /s/Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
16                                           Attorney for United States
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19   DATED: May 1, 2014                      /s/Anthony P. Capozzi
20                                           ANTHONY P. CAPOZZI
                                             Attorney for Defendant
21                                           SALVADOR RAYMOND DELEON
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                                             RODRIGUEZ

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                 Stipulation and [Proposed] Order to Continue Sentencing
                               Case No.: 1:13-CR-00085 LJO
       Case 1:13-cr-00085-LJO-BAM Document 121 Filed 05/01/14 Page 3 of 3


 1                                       ORDER

 2        For reasons set forth above, the continuance requested by

 3   the parties is granted for good cause.

 4        IT IS ORDERED that the sentencing currently scheduled for

 5   May 5, 2014, at 8:30 a.m. is continued to August 11, 2014, at

 6   8:30 a.m. and the Informal Objections are due on July 14,

 7   2014, and the Formal Objections are due on July 28, 2014.

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     IT IS SO ORDERED.
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10     Dated:   May 1, 2014                    /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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                                          - 3 -
                 Stipulation and [Proposed] Order to Continue Sentencing
                               Case No.: 1:13-CR-00085 LJO
